   Case 6:20-cv-01163-MTK         Document 387-5        Filed 07/07/25     Page 1 of 35


                                         Nicholas McGuﬃn and S.M. v. Mark Dannels, et al.




QUALIFICATIONS AND TESTIMONIES
I have been developing DNA interpretation software since 1998 and am recognized as
an expert, speaker, and instructor in the application and development of advanced DNA
interpretation software.
My qualifications include authoring validations for software tools for kinship calculations,
including deficiency cases, complex pedigrees, unidentified human remains, and incest
cases. I have also authored peer-reviewed validations on probabilistic genotyping in
semi-continuous and fully continuous models. I have authored laboratory analytical
procedures for DNA interpretation, user training programs, and user manuals for DNA
Interpretation software.
My opinions are based on my examination of the probabilistic genotyping results that
were produced, as well as my training, education, experience, and expertise as a DNA
interpretation software developer. My expert forensic opinions and the basis for those
opinions are set forth more fully in this report and the DNA Case Review. (Exhibit 2) In
addition, I am prepared to testify regarding the interpretation methods used to form my
opinions, which were informed using external validation studies, internal validation
studies, and scientific literature cited in the Procedures.
I did not track my expert testimonies before 2021, but prior years include admissibility
hearings and direct testimony in Federal, Tribal, State, and County jurisdictions.
Curriculum Vitae, attached as Exhibit 1.
OVERVIEW
I prepared a report and conducted Probabilistic Genotyping on the reference and
evidence samples provided.
DATA AND INFORMATION REVIEWED FOR THIS CASE
To form my opinions in this case, I reviewed the following materials:
DNA Reference profiles for Nicholas McGuffin and Leah Freeman and DNA evidence
profile from Item 1.3 Right Shoe Cutting, Ankle were provided as raw genetic analyzer
files in the “.hid” format provided by the Oregon State Police Forensic Services Division
(OSP).
The documents reviewed include the Validation Study for STR Analysis, Volume 67—
2016, portions of the Forensic Report dated October 10, 2017, and the associated Case
File. The OSP STR Analysis Casework Procedures Manual dated 8/17/2017 and other
tertiary documents and scientific literature have been cited.



                                                                 Appendix 5, Page 1 of 35
     Case 6:20-cv-01163-MTK         Document 387-5       Filed 07/07/25     Page 2 of 35

BACKGROUND
Probabilistic genotyping is used in forensic DNA analysis to determine the likelihood that
a certain set of DNA profiles originates from one or more individuals. It is a
mathematically rigorous approach that considers the inherent uncertainty in DNA
evidence and produces more accurate and reliable results than traditional binary
methods for complex mixtures. This technique is commonly used in criminal
investigations and has helped to solve many complex cases.
“Probabilistic genotyping refers to the use of biological modeling, statistical theory,
computer algorithms, and probability distributions to calculate likelihood ratios (LRs) and
infer genotypes for the DNA typing results of forensic samples.” (SWGDAM, Guidelines
for the Validation of Probabilistic Genotyping Systems, 2015)
Forensic laboratories face an increasing trend in the complexity of samples they are
asked to analyze. Along with this trend, significant advancements in extraction methods,
amplification chemistries, and CE instrumentation have improved sensitivity. However,
these advancements have also posed a challenge in accurately resolving mixtures
using binary mixture interpretation protocols. The previous methods used to evaluate
low-level mixtures with allelic drop-in and drop-out using binary methods have proven
insufficient.
The International Society for Forensic Genetics (ISFG) has published guidelines for
interpreting low-level mixtures where dropout might occur (Gill et al., 2012). Sentry's
Probabilistic Genotyping tool expands Dr. Peter Gill's research and includes the ability
to analyze complex mixtures by factoring in "uncertainty."
Probabilistic Genotyping is a mathematically rigorous methodology free from bias. It
determines the weight of evidence using a framework of competing hypotheses.
However, analyzing the raw data for artifacts and determining the number of
contributors to an evidence profile remains subjective and could lead to bias.
Sentry™ and STRMix™ are both fully continuous probabilistic genotyping software.
Sentry™ provides a high level of automation. The Maximum Likelihood approach is
based on the frequentist inference, maximizing the likelihood function with respect to the
unknown parameters to obtain the maximum likelihood estimate independently for
competing hypotheses.
The software optimizes the Likelihood (under each hypothesis) as a function of the
unknown parameters in the continuous model. The unknown parameters include:


       Mix-Proportion: (mx1,…, mxC): mixture proportion for contributor 1,..,C.
       PH Expectation: mean of a heterozygote peak height allele
       PH Variability: coefficient of variance for a heterozygote peak height allele
       Degradation: degradation slope

                                                                              Page 2 of 35

                                                                   Appendix 5, Page 2 of 35
     Case 6:20-cv-01163-MTK        Document 387-5       Filed 07/07/25    Page 3 of 35

      Stutter Prop: (n-1) and (n + 1) stutter proportions
      Allelic drop-out
      Allelic drop-in
Sentry™ uses the “exact method” for estimating genotypes with three unique models to
determine the parameters that provide the best ﬁt models. For these reasons, Sentry™
does not require laboratory-specific “training data sets.” The exact method makes
Sentry™ completely laboratory, chemistry, and instrumentation agnostic.
In contrast, STRMix™ relies solely on Markov Chain Monte Carlo (MCMC) methodology
to estimate genotypes and other unknown parameters. This limits the use of STRMix™
to laboratory-specific data based on laboratory chemistries and instrumentation.
I have run Sentry™ and STRMix™ in parallel for dozens of cases and have never
observed divergent results wherein one software favors H p versus Hd or vice versa.
Both Sentry™ and STRMix™ have run diagnostic tools users are trained to use to
determine if the results are reportable.
Probabilistic Genotyping is reliable and widely accepted in the scientific community.
Sentry™ and STRMix™ are software tools implemented nationwide in multiple private
and government forensic laboratories.
The Sentry™ and STRMix™ are programs that have been thoroughly validated in
multiple Forensic DNA laboratories, including Genetic Technologies, Inc., before use in
forensic casework.
The procedure for using these programs is developed using validation studies. I
followed this procedure when using Sentry™ in this case. Another qualified forensic
examiner reviewed and verified the reported Sentry™ results during the technical
review process.
I could not use STRMix™ in this case due to the limitations presented when using
MCMC methodology to estimate genotypes and other relevant parameters, requiring a
laboratory-centric model maker. In New York vs. Hillary, John Buckleton analyzed NY
OCME DNA evidence in STRMix™ without validating the NY OCME data models. For
this reason, STRMix™ results were disallowed by the Court.
I, however, am qualified to review and opine on OSP STRMix™ results on all evidence
samples where the STRMix™ run diagnostic pages are provided.
METHODOLOGY
The above-referenced evidence file was uploaded into GeneMapper IDX, which is used
ubiquitously throughout the forensic human identification industry for genotyping raw
analyzer files.
The evidence files were initially analyzed for baseline noise. The noise level was near
25 RFU across the overlayed dye lanes. To determine the sample-specific analytical
threshold (AT) I took three standard deviations of the baseline noise. The value of 50

                                                                            Page 3 of 35

                                                                 Appendix 5, Page 3 of 35
     Case 6:20-cv-01163-MTK         Document 387-5        Filed 07/07/25     Page 4 of 35

RFUs was calculated to be an appropriate analytical threshold for the evidence sample
labeled Item 1.3 Right Shoe Cutting, Ankle.
The raw data files were “GeneMapped” at 50 RFUs using the GlobalFiler™ panel with
the stutter filters turned on. Using the GeneMapper table export function, a table was
created to include all discrete allele calls and their associated peak height intensities
(RFU Values). This table was imported into Sentry ™ as an evidence file.
The evidence was assessed to determine the number of contributors (NoC). The NoC is
inherently unknown and unknowable. Traditional methods consider allele counting and
peak height ratios, coupled with analysts' experience.
Alternatively, or in conjunction with traditional methodologies for estimating the NoC,
both Sentry™, and STRMix™ include tools to consider a range in a number of
contributors and present the best-fit model. STRMix ™ uses a tool known as varNoC
(variable number of contributors), and Sentry™ uses the AIC methodology (Akaike
Information Criteria). For example, if an analyst could justify three or four contributors to
a mixed evidence sample, they could use the PG software tools to run the range of
three to four-contributor modules.
This is not the same as revisiting the NoC after examining the person of interest’s
profile, say, by increasing the NoC and overall moderate uncertainty to support
inclusion. (John S. Buckleton, Jo-Anne Bright, Simone Gittelson, & Tamyra R. Moretti,
2019)
The best-fit model for Item 1.3, Right Shoe Cutting, Ankle, (analyzed at 50 RFUs) was
determined to support four contributors. The sample was scrutinized using traditional
and software AIC methodologies. The evidence was slightly degraded, with a
Degradation Slope of 0.84, which indicates that the smaller base pair-sized DNA
fragments will survive over the larger fragments.
The Sentry™ AIC modeling tool favored a NoC of four with the degradation function
turned, as seen below.




Given the evidence degradation slope of 0.84, it was recognized that the DNA loci of the
smaller base pair sizes may be more informative than those with larger fragment sizes,

                                                                               Page 4 of 35

                                                                   Appendix 5, Page 4 of 35
     Case 6:20-cv-01163-MTK         Document 387-5        Filed 07/07/25     Page 5 of 35

especially considering the minor contributors. The degradation slope is depicted as
follows:




The DNA reference profiles for Leah Freeman and Nicholas McGuffin were analyzed in
GeneMapper IDX and uploaded into Sentry™.
Sentry™ calculates a likelihood ratio to provide a weight of evidence when comparing
competing hypotheses documented as conclusions in my DNA Case Review, Exhibit 2. I
will testify to the results found in this report and the supporting documentation that led to
those conclusions.


                                                                               Page 5 of 35

                                                                   Appendix 5, Page 5 of 35
      Case 6:20-cv-01163-MTK         Document 387-5        Filed 07/07/25     Page 6 of 35

The evidence was interrogated with competing hypotheses that independently
calculated a likelihood. The Hp hypothesis questioned contributor Nicholas McGuffin,
while assuming Leah Freeman, and two unknown, unrelated individuals. The H d
hypothesis questioned the assumed contributor Leah Freeman and three unknown,
unrelated individuals.
The weight of evidence is then expressed as a Likelihood Ratio (LR) by dividing the
likelihood of Hp by the likelihood of Hd. A likelihood ratio greater than one favors Hp,
while an LR less than one favors Hd.
The likelihood ratio was 0.0001484, much less than one, thus supporting the H d
hypothesis. The likelihood of 0.0001484 supports the exclusionary hypothesis.
It should be noted that I was asked to interrogate Item 1.3, Right Shoe Cutting, Ankle,
for the presence of Nicholas McGuffin’s DNA using the probabilistic genotyping
methodology. However, I would have visually excluded McGuffin as a contributor to the
evidence profile at the onset and performed no additional calculations.
The Scientific Working Group on DNA Mixtures (SWGDAM) states, “It would be
inappropriate to make inclusions or exclusions based on the statistical approach without
first considering the interpretation of the profile.” (SWGDAM, 2021)
Based on earlier observations, DNA at loci at the smaller base pair sizes are less likely
to “drop out,” which indicates that the person of interest is excluded when obligate
alleles are absent at these informative loci. The smaller base pair size loci are known
as “minnies” and are identified in the red box overlay on the electropherogram (EPG)
along with the absent obligate alleles belonging to McGuffin noted with red circles. This
EPG is also in a larger format, as shown in Exhibit 3.




                                                                               Page 6 of 35

                                                                    Appendix 5, Page 6 of 35
     Case 6:20-cv-01163-MTK       Document 387-5       Filed 07/07/25    Page 7 of 35

What follows and all probabilistic genotyping statistical calculations performed with
McGuffin as a contributor to Item 1.3, Right Shoe Cutting, Ankle remain a moot exercise
other than repeatedly demonstrating that all methods support the exclusion hypothesis.
Sentry™ includes diagnostic tools to assess the validity of the hypotheses subjected to
testing. The model consists of four contributors and a slightly degraded sample in this
scenario.
Sentry™ validates these assumptions using Frequentist and Bayesian methodologies
while calculating contributor Mixture Proportions, Peak Height Expectation, Peak Height
Variability, and Degradation Slope.”
The Frequentist model validation graphic is presented as a PP-plot. The Bonferroni
corrected significance level is set to a narrow 1% (0.01) and defines the PP Plot
envelope. All points fall within the 1% significance level, thus demonstrating the
“goodness of fit”.




                                                                           Page 7 of 35

                                                                Appendix 5, Page 7 of 35
    Case 6:20-cv-01163-MTK       Document 387-5      Filed 07/07/25   Page 8 of 35




The Bayesian Model is an independent mathematical algorithm that implements the
Markov Chain Monte Carlo (MCMC) simulation, assessing the model parameters' fit.
The MCMC Simulation also demonstrates that the model selected is a good fit and that
the parameter space was adequately explored.




                                                                        Page 8 of 35

                                                              Appendix 5, Page 8 of 35
    Case 6:20-cv-01163-MTK      Document 387-5     Filed 07/07/25   Page 9 of 35




It should be noted that Sentry™ results are run to run reproducible. Sentry™ used
three mathematical models to assess the unknown parameters: Maximum Likelihood,
Bayesian Factor (Numerical), and Bayes Factor (MCMC). All three methods converged,
and the resulting likelihood ratios correspond below.




                                                                      Page 9 of 35

                                                           Appendix 5, Page 9 of 35
    Case 6:20-cv-01163-MTK          Document 387-5    Filed 07/07/25    Page 10 of 35




By assessing the run diagnostics, the user can determine that the mathematical models
converged and that the observed probabilities closely track the expected probabilities.
This result would be reported as:
The DNA profile from Right Shoe 1.3 consists of a mixture of DNA.
Assuming four contributors and comparing the following hypotheses:
      Hp: 00N-481x1.3 Nicholas McGuffin, Leah Freeman 27-00N-481-x4, and two
      unknown, unrelated individuals
      Hd: Leah Freeman 27-00N-481-x4 and three unknown, unrelated individuals
It is 5.637E+04 (Fifty-Six Thousand Three Hundred Seventy) times more likely to obtain
these results if Leah 27-00N-481-x4 and three unknown, unrelated individuals are
contributors than if 00N-481x1.3 McGuffin, Leah 27-00N-481-x4, and two unknown,
unrelated individuals are contributors. (Run 922)
Given that OSP ran both three- and four-contributor models for Item 1.3, Right Shoe
Cutting, Ankle, I was also asked to run the three-contributor model. The three
contributor results follow:
Assuming three contributors and comparing the following hypotheses:
      Hp: 00N-481x1.3 Nicholas McGuffin, Leah Freeman 27-00N-481-x4, and one
      unknown, unrelated individual
      Hd: Leah Freeman 27-00N-481-x4 and two unknown, unrelated individuals




                                                                         Page 10 of 35

                                                              Appendix 5, Page 10 of 35
     Case 6:20-cv-01163-MTK          Document 387-5        Filed 07/07/25      Page 11 of 35

It is 6.573E+28 (Sixty-Five Octillion Seven Hundred Thirty Septillion) times more likely
to obtain these results if Leah 27-00N-481-x4 and two unknown, unrelated individuals
are contributors than if 00N-481x1.3 McGuffin, Leah 27-00N-481-x4, and one unknown,
unrelated individual are contributors. (Run 921).
The Scientific Working Group DNA Analysis Methods (SWGDAM) provides guidance on
reporting genotyping results as likelihood ratios (SWGDAM, 2016).
The verbal qualifier for the four NoC model LR of 56,370 is Strong Support, and for the
three NoC Model LR of 6.573E+28, it is Very Strong Support. This result confirms the
earlier reported visual exclusion.
Please note that “Inconclusive” is not included in the SWGDAM verbal qualifier chart.
(SWGDAM, Guidelines for the Validation of Probabilistic Genotyping Systems, 2015)




STRMix™ diagnostics.
Like Sentry™, STRMix™ also includes run diagnostics that an analyst can use to
determine if the evidence was modeled reliably. An LR | 1/LR in the range of ± 13,500
itself is not indicative of a failed probabilistic genotyping model, as the OSP contends.
Coupled with passing diagnostics, it will provide a weight of evidence that should not be
ignored. Again, “inconclusive” does not describe a probabilistic genotyping result.
OSP describes “inconclusive results” in section 16.10.5 in the OSP PROCEDURES
MANUAL (2017)1 as; “Due to low levels of DNA, the limited DNA profile obtained from X
(Exhibit X) is insufficient for comparison.” This decision is made before analyzing for a
“weight of evidence calculation” such as PG analysis.

1 OSP PROCEDURES MANUAL (2017) was the version in use at the time of this OSP testing and

analysis in this case.

                                                                                 Page 11 of 35

                                                                    Appendix 5, Page 11 of 35
    Case 6:20-cv-01163-MTK          Document 387-5       Filed 07/07/25      Page 12 of 35

Later in Section 16.12.10.J, titled “Inconclusive LR,” it is described: “Individual A’s
contribution to this DNA mixture is inconclusive. (S)he can neither be included nor
excluded as a possible contributor.”
In section 16.12.16, titled “Inconclusive mixture,” the OSP PROCEDURES MANUAL
describes complex characteristics of the evidence profile, “A [partial/limited] mixed DNA
profile of at least XXX contributors [, including at least one male,] was obtained from X
(Exhibit X). Due to low levels of DNA, the typing results are insufficient for comparison.”.
This assessment is made before further downstream analysis, such as PG, is
attempted.
While using “inconclusive” to describe the evidence before PG analysis is acceptable
and common, using “inconclusive” to describe PG results is not.
With that said, OSP uses a post-analysis probabilistic genotyping LR to determine if a
result is inconclusive. Section 10.7.7.11 of their OSP PROCEDURES MANUAL
describes the range of LRs under varying NoCs that will be labeled inconclusive. These
post-analysis LRs are used even when the STRMix™ run diagnostics demonstrate
reliable results. However, the OSP procedure directly opposes SWGDAM guidance, as
referenced earlier.




The Oregon State Police acknowledges the STRMix™ diagnostic tools in their
Validation Study for STR Analysis, Volume 67—2016, beginning on page 22, and in
their 2016 OSP PROCEDURES MANUAL, beginning in section 10.6.2, page 92.
ESR, the developer of STRMix™, published a document titled, A guide to results and
diagnostics within a STRmix™ report. (Russell L, 2019). In this peer-reviewed scientific
journal, it explains, “A number of diagnostics have been included in the STRmix™
interpretation and are written to the report. They can be used to assess the results to
ensure they are suitable for reporting.”
The STRMix™ diagnostics showed that the results from the PG analysis of Item 1.3,
Right Shoe Cutting, Ankle, were reliable for the original run based on a NoC of 3.
However, they later ran the same sample at a NoC of 4 with and without being
conditioned on the victim. Exhibits 4-6
Oregon State Police reported results based on the four-contributor model.
To be clear, OSP initially ran this sample with a NoC of 3, and the run diagnostics
showed the data was reliably modeled. It is unclear why they reran the same sample
with a NoC of 4.



                                                                              Page 12 of 35

                                                                  Appendix 5, Page 12 of 35
    Case 6:20-cv-01163-MTK         Document 387-5       Filed 07/07/25     Page 13 of 35

It should be noted that I analyzed the raw genetic data at a lower threshold (50) than the
threshold used by the OSP (100). The lower threshold was used to better capture any
low-level minor contributors. Therefore, when contrasted with the same data analyzed
by OSP at a higher threshold, I identified additional alleles. The additional alleles would
explain why my Sentry™ analysis favored a NoC of 4.
To further this assumption, I interrogated Nicholas McGuffin and Leah Freeman against
Item 1.3, Right Shoe Cutting, Ankle, with an analytic threshold of 100 RFUs, the same
as OSP implemented to analyze the data. At 100 RFUs, Sentry™ favored the model of
three contributors. The results of the data analyzed at 100 RFUs are tabulated as
follows:




It should be noted that for the three-person model of evidence, data analyzed at 100
RFUs, the Hd hypothesis falls in the “Very Strong Support” range of LRs. In other
words, the LR “very strongly supports” the exclusionary hypothesis.
I found no objective evidence as to why the OSP did not visually exclude McGuffin as a
contributor or why they “shopped” the number of contributors in opposition to the
STRMix™ software provider’s recommendations.
CONCLUSION
The OSP DNA tested Item 1.3, Right Shoe Cutting, Ankle, and several reference
profiles for comparison.
I have unequivocally visually excluded Nicholas McGuffin as a contributor to Item 1.3,
Right Shoe Cutting, Ankle. The follow-up probabilistic genotyping framework using
competing hypotheses supports and confirms the visual exclusion.
However, the OSP remains equivocal and presents changing opinions, ultimately
demonstrating egregious bias. Multiple reports have been issued with interpretations
ranging from exclusion to inconclusive. Namely, the OSP's 2017 report that Mr.
McGuffin's contribution is "inconclusive" regarding Item 1.3, Right Shoe Cutting, Ankle.
This assessment is not supported by the data nor by professional and scientific
standards.
The Amended Report dated May 17th, 2017, authored by Marla F. Kaplan, described
Item 1.3, Right Shoe Cutting, Ankle, as a mixture of two, with a major female and minor
male profile. The major profile was reported to match Leah Freeman.
Dennis Freeman, Nicholas McGuffin, Elzie Shamblin, Kip Oswald, William Sero,
Unknown Male #1 (Exhibit 12.3), Unknown Male #3 (Exhibit 2.3), Unknown Male #4


                                                                            Page 13 of 35

                                                                 Appendix 5, Page 13 of 35
     Case 6:20-cv-01163-MTK             Document 387-5          Filed 07/07/25       Page 14 of 35

(Exhibit 31.1) were excluded as possible contributors to the minor male profile in Item
1.3, Right Shoe Cutting, Ankle.
Four months later, OSP reanalyzed Item 1.3, Right Shoe Cutting, Ankle. During this
analysis, the OSP used probabilistic genotyping, initially assuming three contributors
and then later four contributors. To be clear, this evidence was reported as a mixture of
two and later as a mixture of three and finally four contributors.
The most recent Analytical Report2, dated October 10th, 2017, was authored by Janelle
Moore and described Item 1.3, Right Shoe Cutting, Ankle, as a mixture of four, with
Leah Freeman as the major profile.
The report then reads, “The contributions of Corey Courtright (Exhibit 9), Dennis
Freeman (Exhibit 10), Nick McGuffin (Exhibit 13), Elzie Shamblin (Exhibit 45), Kip
Oswald (Exhibit 47), William Sero (Exhibit 48), Brent Bartley (Exhibit 78), Randy Ulmer
(Exhibit 79), Anthony Messarle (Exhibit 80), Ronald Robinson (Exhibit 81), Josh Emler
(Exhibit 83), Aaron West (Exhibit 84), David Jenkins (Exhibit 85), Thomas Stemmerman
(Exhibit 86), and Richard Crook (Exhibit 87) to this mixture are inconclusive. They can
neither be included nor excluded as possible contributors.”
Inconclusive is not used to describe a probabilistic genotyping result (SWGDAM, 2016);
furthermore, the phrase, “They can neither be included nor excluded as possible
contributors,” is highly prejudicial. This statement insinuates that an individual could be
included as a contributor, which is inaccurate according to OSP's own data.
Remember that Nicholas McGuffin is visually excluded as a contributor to Item 1.3,
Right Shoe Cutting, Ankle, yet OSP chooses to perform probabilistic genotyping. They
further exacerbate their predisposition by reporting an inconclusive result. Even though I
have shown that “inconclusive” is not a verbal predicate used to describe a probabilistic
genotyping LR, the OSP proceeded to compound their prejudice by summarizing, “They
can neither be included nor excluded as possible contributors.” As fact, I do not accept
their conclusion. However, the OSP could mitigate its pro-prosecution bias with a non-
biased statement such as “Due to mixture complexity, no further interpretations can be
made.”


Respectfully submitted,




Kent M. Harman, July 15, 2024




2 Note: the report format violates Accreditation Standards on Amended Reporting (17025:2017) Exhibit 7


                                                                                       Page 14 of 35

                                                                          Appendix 5, Page 14 of 35
    Case 6:20-cv-01163-MTK        Document 387-5      Filed 07/07/25     Page 15 of 35



Works Cited
17025:2017, I. (n.d.). General requirements for the competence of testing and
      calibration laboratories. International Standards, Third edition 2017.
John S. Buckleton, D., Jo-Anne Bright, P., Simone Gittelson, P., & Tamyra R. Moretti.
      (2019, March). The Probabilistic Genotyping Software. Journal of Forensic
      Science, pp. 393-405.
Russell L, C. S. (2019, May 31). A guide to results and diagnostics within a STRmix™
      report. WIREs Forensic Sci., pp. 1-12.
SWGDAM. (2015, June 15). Guidelines for the Validation of Probabilistic Genotyping
    Systems. Retrieved from Scientific Working Group on DNA Analysis Methods:
    https://www.swgdam.org/_files/ugd/4344b0_22776006b67c4a32a5ffc04fe3b5651
    5.pdf
SWGDAM. (2016). RECOMMENDATIONS OF THE SWGDAM AD HOC WORKING
    GROUP ON GENOTYPING RESULTS REPORTED AS LIKELIHOOD RATIOS.
    Retrieved from Scientific Working Group on DNA Analysis Methods (SWGDAM):
    https://www.swgdam.org/_files/ugd/4344b0_dd5221694d1448588dcd0937738c9
    e46.pdf
SWGDAM. (2021, July 13). SWGDAM Interpretation Guidelines for Autosomal STR
    DNA Analysis Methods (SWGDAM). Retrieved from Scientific Working Group on:
    https://www.swgdam.org/_files/ugd/4344b0_3f94c9a6286048c3924c58e2c230e7
    4e.pdf




                                                                          Page 15 of 35

                                                               Appendix 5, Page 15 of 35
    Case 6:20-cv-01163-MTK     Document 387-5       Filed 07/07/25      Page 16 of 35

Exhibit 1
Kent M. Harman




Objective:    To familiarize colleagues with Kent M. Harman's business, scientific,
              and leadership experience.
              I have successfully created Genetic Technologies, Inc. (GTI), a private
              forensic DNA testing laboratory. It was the first in the Midwest to
              implement advanced PCR and STR capillary electrophoresis
              technologies.
              Grew GTI into a multi-accredited organization with a Nationwide
              footprint. Provided forensic biology testing, consultation, and DNA
              interpretation software as a service to government and private
              laboratories/agencies.
              Successfully merged Genetic Technologies, Inc.’s forensic biology
              testing operation with Sorensen Forensics, LLC, two multi-accredited
              Forensic Biology laboratories. Served as Chief Executive Officer of the
              merged assets for four years. Restored Sorenson Forensics’
              reputation in the industry and positioned them for sustainable growth.
              Implemented new training programs, analytical procedures, and a new
              quality assurance team, and implemented sophisticated software
              custom-designed for quality monitoring. Designed and oversaw the
              construction of the new customized laboratory in Draper, Utah.
              I am fully experienced in forensic biology and relatedness testing using
              numerous CE/related platforms, kit chemistries, and qualified expert
              witness.


Experience:   Genetic Technologies, Inc.                             St. Louis, Missouri
              President & CEO                                           1998 to Present


              Sorenson Forensics & GTI Merged Assets                       Draper, Utah
              CEO, Managing Member, and Owner                              2018 to 2022


              Sorenson Forensics LLC                                       Draper, Utah
              Managing Member and Owner                                 2018 to Present

                                                                          Page 16 of 35

                                                            Appendix 5, Page 16 of 35
    Case 6:20-cv-01163-MTK       Document 387-5       Filed 07/07/25    Page 17 of 35

                DNA Solutions, Inc.                          Oklahoma City, Oklahoma
                Consulting General Manager                     January 2024 to Present


Experience Continued:



               Continue implementing new DNA services to diversify the laboratory's
                revenue base.

               Commissioned and oversaw the implementation of internal scientific
                validation studies.


               Commissioned and oversaw the implementation of a Laboratory
                Information Management System (LIMS) to streamline laboratory
                throughput and Quality Control.


               Commissioned and oversaw the implementation of Kinship algorithms
                and provided consultation with laboratories nationwide.


               Commissioned and oversaw the implementation of BP Sentry, a
                continuous probabilistic genotyping software widely used in forensic
                DNA laboratories.


               Frequently invited as a guest speaker/trainer by accredited laboratories
                and scientific organizations on Kinship Calculations, LIMS
                implementation, probabilistic genotyping calculations, and theory.


               Consultant to the Illinois State Police Laboratory System for matters
                concerning relatedness calculations involving remains identification
                and criminal paternity.


               Consultant and software provider to the Orange County District
                Attorney’s Office for matters concerning DNA Data Basing and Familial
                Searches in a criminal database.


               Commissioned and oversaw the implementation of Custom Developed
                Forensic LIMS Modules for U.S. Government Laboratories.


               Provide Forensic LIMS and Database Solutions through USAID—the
                latest successful implementation in Colombo, Sri Lanka.

                                                                          Page 17 of 35

                                                               Appendix 5, Page 17 of 35
Case 6:20-cv-01163-MTK      Document 387-5       Filed 07/07/25    Page 18 of 35



                Commissioned and oversaw the implementation of software and tools
                 for NetBio and ANDE Corporation Rapid DNA for disaster victim
                 identification, familial searching, and complex kinship calculations.


                Commissioned and oversaw the implementation of BP Sentry, a
                 specialized software designed to be used as a bulk repository for all
                 DNA profiles, probabilistic searching for quality assurance, and a
                 continuous model probabilistic genotyping and mixture deconvolution
                 tool.


Education:
Fontbonne University             Clayton, Missouri
Master’s in Management


Fontbonne University             Clayton, Missouri
Bachelor of Business Administration


Meramec College
Coursework to include Biology, Chemistry


Continuing Education, Training & Presentations


1998                Perkin Elmer – Applied Biosystems
                    310 Genetic Analyzer & AmpFlSTR Training


1998                Perkin Elmer – Applied Biosystems
                    Missouri State Highway Patrol Criminal Laboratory
                    310 Genetic Analyzer User’s Forum


1999                Midwestern Association of Forensic Scientists & Illinois State Police
                    Spring 1999 DNA STR Workshop



                                                                           Page 18 of 35

                                                         Appendix 5, Page 18 of 35
   Case 6:20-cv-01163-MTK    Document 387-5        Filed 07/07/25    Page 19 of 35

1999            Promega Corporation
                10th International Symposium on Human Identification


1999            Promega Corporation
                Statistics Workshop


1999            Perkin Elmer- Applied Biosystems
                STR Forensic Meeting


2000            Promega Corporation
                11th International Symposium on Human Identification


2000            Promega Corporation
                11th International Symposium on Human Identification
                Casework Guidelines & Complex Mixture Interpretation Workshop


2000            SWGDAM Meeting
                11th International Symposium on Human Identification
                (Scientific Working Group for DNA Analysis Method)


2001            SWGDAM Meeting
                12th International Symposium on Human Identification
                Scientific Working Group for DNA Analysis Methods


2001            Promega Corporation
                12th International Symposium on Human Identification
                Statistics and Mixture Interpretation Workshop


2002            Midwestern Association of Forensic Scientists
                2002 STR Symposium


                                                                       Page 19 of 35

                                                           Appendix 5, Page 19 of 35
   Case 6:20-cv-01163-MTK     Document 387-5       Filed 07/07/25    Page 20 of 35

                Mixture Issues and New Technology


2002            American Association of Blood Banks, 54th Annual Meeting
                      Guest Speaker (LIMS)
                      Parentage Testing Sig I
                      Parentage Testing Sig II


2003            Promega Corporation
                14th International Symposium on Human Identification
                      Parentage Symposium
                      Guest speaker on high throughput LIMS


2004            Sorensen Genomics
                      Instructor in a relatedness statistics workshop
                      Instructor in a LIMS QA/QC workshop
                      Instructor in LIMS implementation


2005            Midwestern Association of Forensic Scientists
                Fall 2005 – ASCLD/LAB Criteria File & ISO Workshop


2005            Midwestern Association of Forensic Scientists
                Fall 2005 – Forensic Statistics Workshop


2006            Applied Biosystems – HID University
                AB Product Updates: Allelic Ladder Manufacturing and
                AmpFlSTR Yfiler PCR Amplification Kit


2006            Promega Corporation
                17th International Symposium on Human Identification
                Advanced Topics in Forensic Statistics


2006            Promega Corporation


                                                                         Page 20 of 35

                                                            Appendix 5, Page 20 of 35
   Case 6:20-cv-01163-MTK    Document 387-5       Filed 07/07/25      Page 21 of 35

                17th International Symposium on Human Identification
                Generating DNA Profiles from Difficult Samples


2007            Applied Biosystems – HID University
                Future Trends in Forensic DNA Technology


2007            7500 Real-Time PCR
                Training provided by Applied Biosystems regarding the qPCR
                chemistries and operational maintenance of the 7500 Real-Time
                qPCR Tower equipment.


2008            Applied Biosystems – HID University
                Future Trends in Forensic DNA Technology


2008            Applied Biosystems – HID University
                GeneMapper IDX – Discover the Next Generation


2008            MAFS
                Integrity, Character and Ethics in Forensic Science


2008            MAFS
                Workshop on Mixture Evaluation


2008            MAFS
                Body Fluid Identification – New Techniques for Old Problems


2008            MAFS
                Bloodstain Pattern Interpretation for DNA Analysts


2009            Ron Smith & Associates, Inc.


                                                                       Page 21 of 35

                                                           Appendix 5, Page 21 of 35
   Case 6:20-cv-01163-MTK     Document 387-5        Filed 07/07/25     Page 22 of 35

                Courtroom Testimony Techniques: Success Instead of Survival


2010            Forensic Quality Services
                Forensic Relationship Testing Workshop


2010            Federal Bureau of Investigation
                Quality Assurance Standards Auditor Training


2011            Applied Biosystems HID University
                Future Trends in Forensic DNA Technology


2011            Midwestern Association of Forensic Scientists
                Y Not? Forensic Y-STR Testing


2011            Midwestern Association of Forensic Scientists
                Forensic Relationship Statistics


2012            Promega Corporation
                23rd International Symposium on Human Identification


2012            Promega Corporation
                Y-STR Mixture Interpretation


2012            California Department of Justice / Criminalistics Institute
                Population Genetics and Complex Kinship Statistics
                Familial Searching and CODIS


2014            The Center for Advanced Forensic DNA Analysis
                GenomeID Forum


                                                                        Page 22 of 35

                                                             Appendix 5, Page 22 of 35
   Case 6:20-cv-01163-MTK    Document 387-5       Filed 07/07/25      Page 23 of 35

                Emerging Forensic Genomic Applications


2015            Probabilistic Genotyping
                Caymans Forensic Science Laboratory
                Dr. Norah Rudin and Keith Inman


2015            Illumina MiSeq FGx On-Site
                Illumina, Inc. Presentation: Aimee Keithly, Sr. Account Manager


2015            RapidHit DNA On-Site
                Integenex Presentation: Richard Brooks, Ph.D. & Dave Oehler


2015            Qiagen EZ1/Investigator Argus X-12 On-Site
                Qiagen Training/Presentation: Dr. Meredith Turnbough, Ph.D. & Dr.
                Mark Guilliano, Ph.D.


2015            Illumina MiSeq FGx On-Site
                Illumina, Inc. Presentation: Aimee Keithly, Sr. Account Manager,
                Ann Alison, Dr. Steven Lee


2016            Association of Forensic Analysts and Administrators
                Current Forensic DNA Analysis Topics


2016            Scientific Collaboration, Innovation & Education Group
                (SCIEG)
                Likelihood Ratios & Probabilistic Genotyping Workshop


2017            Green Mountain DNA Conference
                Subject Matter Expert / Presenter: Complex DNA Calculation




                                                                       Page 23 of 35

                                                           Appendix 5, Page 23 of 35
   Case 6:20-cv-01163-MTK     Document 387-5        Filed 07/07/25     Page 24 of 35

2017            Rapid DNA Technology Forum
                Forensic Technology Center of Excellence


2018            California Department of Justice / Criminalistics Institute
                R500 Kinship v2 (5-day course)


2018            ISHI 29
                Forensic Software—Issues of Validation and Verification


2019            4th Annual National SAKI Grantees Meeting
                Washington D.C.


2019            ISHI 30
                General Sessions


2019            ISHI 30
                AABB Workshop as guest lecturer on complex DNA calculations


2019            ISHI 30
                HITA Workshop – Are you Prepared for a Mass Fatality Incident
                Response?


2020            Federal Bureau of Investigation
                7/20 Quality Assurance Standards Auditor Training


2020            ANDE Rapid DNA
                Onsite Rapid DNA Instrument Training provided by ANDE
                Corporation


2020            ThermoFisher – Life Technologies


                                                                        Page 24 of 35

                                                             Appendix 5, Page 24 of 35
     Case 6:20-cv-01163-MTK               Document 387-5   Filed 07/07/25     Page 25 of 35

                         Quant Studio 5 Training (Quant Trio and Virtual Curves)


2021                     Applied Biosystems GeneMapper ID-X
                         Tips and Tricks from PeterGene: Uninhibited Ep. #6


2021                     BP Sentry Probabilistic Genotyping Advance Users Workshop


2022                     SWGDAM NGS Committee
                         Integration of Probabilistic Genotyping methodologies using LUS
                         and LUS+ sequencing data formats for forensics and human
                         identification.
2023                     American Academy of Forensic Scientists
                         Presenter/speaker on improved Human Remains Identification
                         DNA calculations compared to the widely used but incorrect
                         Kinship Proxy.


2023                     Probabilistic Genotyping Classroom Instruction
                         Instructor at the Vermont State Police Forensic DNA Laboratory: 40
                         hours of in-depth PG and DNA Interpretation training.


2023                     Green Mountain DNA Conference
                         Burlington, Vermont
                         Presentation on Kinship vs. UHR calculations


2023                     International Symposium of Human Identification (ISHI)
                         Denver, Colorado


TESTIMONY LIST3
2021                     Daubert Hearing
                         State OK v Patrick Napoleon CF-2017-2208


3 List does not include testimony prior to 2021


                                                                               Page 25 of 35

                                                                   Appendix 5, Page 25 of 35
       Case 6:20-cv-01163-MTK      Document 387-5       Filed 07/07/25    Page 26 of 35

                    Tulsa, Oklahoma


2022                State vs. Jerrod Baum, Case No. 181401062
                    Utah County, Utah


2022                State vs. Eric Oliver
                    Memphis, Tennessee


2023                Probabilistic Genotyping Testimony
                    State OK v Patrick Napoleon CF-2017-2208
                    Tulsa, Oklahoma


2023                Complex Kinship Testimony (Incest calculations)
                    State of Utah vs. Scott Garza, Case Number: 211100360
                    Cache County, Utah


2024                Forensic Biology, Sexual Assault
                    US v CPL Marcus Mobley, US Army
                    7th Army Training Command, Vilseck, Bavaria


A practitioner with the following equipment, chemistries/reagents, and software. This list
is not all-inclusive.
Equipment:
       Pipettes (various brands and types)
       Centrifuges (various brands and types)
       Alternate light source
       Fume and PCR Hoods
       Microscopes (various brands and types)
       Stereoscope
       Incubators (various brands and types)
       Thermoshakers (various brands and types)
       Qiagen EZ-1 Advanced XL Robotic DNA Extraction Platform
       Maxwell® Rapid Sample Concentrator 48

                                                                            Page 26 of 35

                                                                Appendix 5, Page 26 of 35
       Case 6:20-cv-01163-MTK      Document 387-5       Filed 07/07/25    Page 27 of 35

       Savant DNA SpeedVac Concentrator
       Qiagen Lyse & Spin Baskets
       Organic Extractions (Phenol chloroform)
       Zymo DNA Clean & Concentrator-5
       Phase Lock Gel tubes
       ABI 7500 Real-Time PCR Tower
       QuantStudio™ 5 Real-Time PCR SystemGeneAmp™ PCR System 9700
       310, 3130, and 3500 Genetic Analyzers


Chemistries / Reagents:
       Acid Phosphatase / Brentamine Test (seminal fluid)
       SERATEC PSA (p30) Semiquant (seminal fluid)
       Christmas Tree Stain (microscopic sperm search)
       Phenolphthalein Test (blood)
       Luminol Test (blood)
       ABAcard® HemaTrace® (blood)
       Organic DNA extraction: stain extraction buffer, Proteinase K, Phenol-
        Chloroform-Isoamyl alcohol, TE Buffer, Dithiothreitol
       Zymo DNA Clean & Concentrator-5 kit
       Quantifiler Duo DNA Quantification Kit
       Quantifiler Tri DNA Quantification Kit
       PowerQuant System Kit
       Profiler Plus PCR Kit
       Identifiler PCR Kit
       Identifiler Plus PCR Kit
       Y-Filer PCR Kit
       Y-Filer Plus PCR Kit
       PowerPlex Y23 PCR Kit
       GlobalFiler PCR Kit
       Fusion 5C and 6C PCR Kits
       Spectral Matrix Standards for all PCR and qPCR kits
       Promega SwabSolution™ Kit
       Promega Casework Direct Kit


Forensic Biology Software:
       eDNA LIMS (with BRUTUS)
       Qualtrax (Quality & Document management)
       GeneScan
       Genotyper
       GeneMapper ID 3.2
       GeneMapper ID-X 1.4 through 1.7

                                                                           Page 27 of 35

                                                                Appendix 5, Page 27 of 35
    Case 6:20-cv-01163-MTK      Document 387-5   Filed 07/07/25   Page 28 of 35

    7500 and QS5 HID RT Software
    EuroForMix (probabilistic genotyping)
    Sentry (probabilistic genotyping)
    STRMix (probabilistic genotyping)




                                                                   Page 28 of 35

                                                         Appendix 5, Page 28 of 35
          Case 6:20-cv-01163-MTK         Document 387-5        Filed 07/07/25     Page 29 of 35



      Exhibit 2
                                          DNA Case Review


       Janis C. Puracal                            Nicholas McGuffin and S.M. v. Mark Dannels, et al.
       Andrew C. Lauersdorf
       Maloney Lauersdorf Reiner PC                Case Name(s)      Leah Freeman - [Victim]
       1111 E. Burnside St., Suite 300                               Nicholas McGuffin - [POI]
       Portland, Oregon 97214

       David B. Owens
       Loevy & Loevy c/o
       Civil Rights and Justice Clinic
       University of Washington Law School
       William H. Gates Hall, Suite 265
       PO Box 85110
       Seattle, WA 98145-1110


Review Summary

The undersigned reviewed data including raw genetic analyzer files for one piece of evidence and
two reference profiles. The data was analyzed using GeneMapper IDX, and Probabilistic
Genotyping statistics/weight of evidence were generated using Sentry™.


Summary of Findings

Nicholas McGuffin can be visually excluded as a contributor to Item 1.3, Right Shoe Cutting, Ankle.

Statistical analysis is not required for visual exclusions; however, the client requested probabilistic
genotyping results based on the assumption of three and four contributors.

   1. The DNA profile from Item 1.3, Right Shoe Cutting, Ankle consists of a mixture of DNA.

   Assuming four contributors and comparing the following hypotheses:

       Hp: 00N-481x1.3 McGuffin, Leah 27-00N-481-x4, and two unknown, unrelated individuals

       Hd: Leah 27-00N-481-x4 and three unknown, unrelated individuals

   It is 5.637E+04 (Fifty-Six Thousand Three Hundred Seventy) times more likely to obtain these
   results if Leah 27-00N-481-x4 and three unknown, unrelated individuals are contributors than if
   00N-481x1.3 McGuffin, Leah 27-00N-481-x4, and two unknown, unrelated individuals are
   contributors. (Run 922)



                                                                                    Page 29 of 35

                                                                        Appendix 5, Page 29 of 35
           Case 6:20-cv-01163-MTK       Document 387-5      Filed 07/07/25    Page 30 of 35

    2. The DNA profile from Item 1.3, Right Shoe Cutting, Ankle consists of a mixture of DNA.

    Assuming three contributors and comparing the following hypotheses:

         Hp: 00N-481x1.3 McGuffin, Leah 27-00N-481-x4, and one unknown, unrelated individual

         Hd: Leah 27-00N-481-x4 and two unknown, unrelated individuals

 It is 6.573E+28 (Sixty-Five Octillion Seven Hundred Thirty Septillion) times more likely to obtain
 these results if Leah 27-00N-481-x4 and two unknown, unrelated individuals are contributors than if
 00N-481x1.3 McGuffin, Leah 27-00N-481-x4, and one unknown, unrelated individual are
 contributors. (Run 921)




Notes:

The NIST General population data were obtained from NIST 1036 Revised U.S. Population Dataset
(July 2017), retrieved from the National Institute of Standards and Technology STRbase on the World
Wide Web: http://www.cstl.nist.gov/biotech/strbase/NISTpop.htm.

The SWGDAM verbal equivalents for numerical Likelihood Ratio (LR) designations are stated in the
chart below.




Respectfully submitted,



Kent M Harman        July 15rd 2024
Probabilistic Genotyping SME




                                                                                Page 30 of 35

                                                                     Appendix 5, Page 30 of 35
            Case 6:20-cv-01163-MTK   Document 387-5   Filed 07/07/25   Page 31 of 35


Exhibit 3




                                                                                                Page 31 of 35


                                                                             Appendix 5, Page 31 of 35
    Case 6:20-cv-01163-MTK   Document 387-5   Filed 07/07/25   Page 32 of 35


Exhibit 4




                                                                Page 32 of 35


                                                      Appendix 5, Page 32 of 35
    Case 6:20-cv-01163-MTK   Document 387-5   Filed 07/07/25   Page 33 of 35


Exhibit 5




                                                                Page 33 of 35


                                                      Appendix 5, Page 33 of 35
    Case 6:20-cv-01163-MTK   Document 387-5   Filed 07/07/25   Page 34 of 35


Exhibit 6




                                                                Page 34 of 35


                                                      Appendix 5, Page 34 of 35
    Case 6:20-cv-01163-MTK          Document 387-5       Filed 07/07/25     Page 35 of 35


Exhibit 7
7.8.8 Amendments to reports
       7.8.8.1 When an issued report needs to be changed, amended or re-issued, any
       change of information shall be clearly identified and, where appropriate, the
       reason for the change included in the report.
       7.8.8.2 Amendments to a report after issue shall be made only in the form of a
       further document, or data transfer, which includes the statement “Amendment to
       Report, serial number... [or as otherwise identified]”, or an equivalent form of
       wording.
       Such amendments shall meet all the requirements of this document.
       7.8.8.3 When it is necessary to issue a complete new report, this shall be
       uniquely identified and shall contain a reference to the original that it replaces




                                                                              Page 35 of 35


                                                                  Appendix 5, Page 35 of 35
